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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SEALED INDICTMENT

UNITED STATES OF AMERICA S7 16 Cr. 644 (KBF)
- Vv. -

MARIO RINCON-VEGA,
Defendant.

* COUNT ONE
(Conspiracy to Commit Money Laundering)

The Grand Jury charges:

1. From at least in or about 2011 through at least
in or about 2016, in the Southern District of New York and
elsewhere, MARIO RINCON-VEGA, the defendant, and others known
and unknown, knowingly did combine, conspire, confederate and
agree together and with each other to violate the money
laundering laws of the United States.

2. It was a part and an object of the conspiracy
that MARIO RINCON-VEGA, the defendant, and others known and
unknown, knowing that the property involved in a financial
transaction represented the proceeds of some form of unlawful
activity, would and did conduct and attempt to conduct such a
financial transaction which in fact involved the proceeds of
specified unlawful activity as defined in 18 U.S.C. §

1956(c)(7) (A) & (B), to wit, the proceeds of i) the sale and

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distribution of a controlled substance, in violation of 21
U.S.C. § 841(a) (1); and ii) an offense against a foreign nation,
to wit, the Italian Republic and the United Mexican States,
involving the manufacture, importation, sale, and distribution
of a controlled substance knowing that the transaction was
designed in whole and in part to conceal and disguise the
nature, the location, the source, the ownership, and the control
of the proceeds of specified unlawful activity, in violation of
Title 18, United States Code, Section 1956 (a) (1) (B) (i).

3. It was further a part and an object of the
conspiracy that MARIO RINCON-VEGA, the defendant, and others
known and unknown, would and did transport, transmit, and
transfer, and attempt to transport, transmit, and transfer, a
monetary instrument and funds from a place in the United States
to and through a place outside the United States, and to a place
in the United States from and through a place outside the United
States, with the intent to promote the carrying on of specified
unlawful activity as defined in 18 U.S.C. § 1956(c)(7)(A) & (B),
to wit, the proceeds of i) the sale and distribution of a
controlled substance, in violation of 21 U.S.C. § 841(a) (1); and
ii) an offense against a foreign nation, to wit, the Italian

Republic and the United Mexican States, involving the

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manufacture, importation, sale, and distribution of a controlled
substance, in violation of Title 18, United States Code, Section
1956 (a) (2).

4, It was further a part and an object of the
conspiracy that MARIO RINCON-VEGA, the defendant, and others
known and unknown, in an offense taking place in the United
States and in the special maritime and territorial jurisdiction
of the United States, and taking place outside of the United
States and such special jurisdiction, where the defendant is a
United States person, as defined in 18 U.S.C. § 3077, knowingly
would and did engage and attempt to engage in a monetary
transaction in criminally derived property of a value greater
than $10,000 that was derived from specified unlawful activity
as defined in 18 U.S.C. § 1956(c) (7) (A) & (B), to wit, the
proceeds of i) the sale and distribution of a controlled
substance, in violation of 21 U.S.C. § 841(a) (1); and ii) an
offense against a foreign nation, to wit, the Italian Republic
and the United Mexican States, involving the manufacture,
importation, sale, and distribution of a controlled substance,
in violation of Title 18, United States Code, Section 1957(a).

(Title 18, United States Code, Section 1956(h).)

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FORFEITURE ALLEGATION !

5. As a result of committing the money laundering |
offense alleged in Count One this Indictment, MARIO RINCON-VEGA,
the defendant, shall forfeit to the United States, pursuant to
Title 18, United States Code, Section 982(a) (1), any and all
property, real or personal, involved in the offense alleged in
Count One of this Indictment, and any property traceable to such
property.

Substitute Assets Provision

6, If any of the property described above as being
subject to forfeiture, as a result of any act or omission of the

defendant:

a. cannot be located upon the exercise of due
diligence;
b. has been transferred or sold to, or

deposited with, a third person;

Cc. has been placed beyond the jurisdiction of
the Court;

ad. has been substantially diminished in value;

e. has been commingled with other property

which cannot be subdivided without difficulty; it is the intent

of the United States, pursuant to Title 21, United States Code,

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Section 853 (p), and Title 28, United States Code, Section

2461 (c), to seek forfeiture of any other property of the

defendant up to the value of the forfeitable property.
(Title 18, United States Code, Sections 982;

Title 21, United States Code, Section 853; and
Title 28, United States Code, Section 2461.)

Rate § bun

GEOFFREY §.‘ BERMAN
United States Attorney
